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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA

TALLAHASSEE DIVISION

GPDEV, LLC and SIMONS )

EXPLORATION, INC. )
) CASE NO. 4:18cv442-RH/MAF

Plaintiff, )

)

Vv. )

)

TEAM SYSTEMS INTERNATIONAL, )

LLC. )

Defendant, )

and )

)

BBVA N/K/A PNC BANK, N.A. )

)

Garnishee. )

 

RESPONSE OF GARNISHEE PNC BANK, N.A.
TO WRIT OF GARNISHMENT

 

PNC Bank, N.A. (“PNC”) responds to Plaintiff's Writ of Garnishment served on PNC on
November 4, 2021 as follows: PNC Bank is currently holding the account of Defendant Team
Systems International, LLC. The balance in the account is $0.00 due to a previous hold.

I declare under penalty of perjury that the foregoing is true and correct.

 

 

Date: November 10, 2021 Sing Saniuich
Amy Sanovich, Bank Officer

CERTIFICATE OF SERVICE

 
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Garnishee’s Response to the Writ of Garnishment was served via Federal Express on

November 10, 2021 to the following:

United States District Court
Northern District of Florida
Tallahassee Division

ATIN: Clerk of Civil Court
United States Courthouse

111 N. Adams Street, Suite 322
Tallahassee, Florida 32301-7730
(850) 521-3501

Leonard M. Collins, Esq.
Gray Robinson, P.A.

301 S. Bronough Street
Suite 600

Tallahassee, FL

(850) 577-9090
 

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| KOTI BN ACTWGT. 0.50 LB
| PNC BANK Cho: 25126971 8/WSXI3400
A100 W 50TH ST

Cl PVELAND: QOH 44135 BILL SENDER
UNITED STATES US ——

To CLERK OF CIVIL COURT
UNITED STATES DISTRICT COURT
111 N ADAMS ST

SUITE 322
TALLAHASSEE FL 32301 __ "
(850) 424-3501 REF ONC TROLS
PO. OFFT:

 

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1/16/2021

 
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